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  Natin Paul, Authorized Representative                                                       August 3, 2021
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  SKW-B Acquisitions Seller J, LLC
  c/o SKW Funding, LLC
  Attn: Matt Contreras
  134 West 25th Street
  New York, New York 10001

  Morritt Hook & Hamroff LLP
  400 Garden City Plaza
  Garden City, NY 11530
  Attn: Brandi P. Klineberg

  Colliers International Holdings (USA), Inc.
  28158 Network Place
  Chicago, IL 60673-1281

  Universal Protection Service LP
  P.O. Box 828854
  Philadelphia, PA 19182-8854

  Asurity Mortgage Group, LLC
  717 North Harwood
  Suite 1600
  Dallas, TX 75201

  TK Elevator Corporation
  P.O. Box 3796
  Carol Stream, IL 60132-3796

  RTC Waterproofing & Glass, Inc.
  1433 Crescent Drive
  Carrollton, TX 75006

  Hudson Energy Corp.
  P.O. Box 731137
  Dallas, TX 75373-1137

  Captivate LLC
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  Suite 3101
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  City of Dallas Water Utilities
  City Hall, 2D South
  Dallas, TX 75277




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  Dallas, TX 75201

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  Richardson, TX 75081

  Nalco Company
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  Dallas, TX 75373-0005

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  Santa Ana, CA 92705

  Mitec
  2445 Meadowbrook Parkway
  Duluth, GA 30096

  APS Building Services
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  Houston, TX 77240

  Texas AirSystems LLC
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  Suite 100
  Irving, TX 75063

  TRI-TEX Construction, Inc.
  403 International Parkway
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  Richardson, TX 75081




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